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November 27, 2023

Christopher G. Conway
Office of the Clerk
United States Court of Appeals for the Seventh Circuit
Everett McKinley Dirksen United States Courthouse
219 South Dearborn Street, Room 2722
Chicago, IL 60604

         Re: Taylor v. The Salvation Army Nat’l Corp., No. 23-1218
             Supplemental authority under Rule 28(j)

Dear Mr. Conway:

Glagola v. MacFann, --- F.Supp.3d ----, 2023 WL 7271340 (W.D. Pa.
Nov. 3, 2023), offered by Appellants as supplemental authority (Doc.
40), illustrates why Appellants’ own TVPA claims must fail. Appellants
compare the Glagola defendant landlord threatening his tenants—a
woman and her child—with homelessness if the woman did not have
sex with him to The Salvation Army threatening to dismiss plaintiffs
from the program if they did not perform work-therapy.

 Three distinctions are immediately apparent:

First, unlike the “quid pro quo sexual harassment” underlying Glagola,
there is nothing inherently improper about work-therapy or
participation in The Salvation Army program generally (which is why
court systems use the program as an alternative to incarceration).

Second, there was no bait-and-switch here, as there was in Glagola (and
other cases on which Appellants rely): work-therapy was a publicized
condition of admission and continued participation in the ARCs. (E.g.,
AA ¶¶ 4, 11, 12, 21, 58, 121, 122, 123, 140.) Plaintiffs had no right to
enter or remain at the ARCs if they did not participate in the
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rehabilitation program. See Smith v. Dart, 803 F.3d 304, 314-15 (7th
Cir. 2015).

Third, as Appellants acknowledge, the coercion in Glagola was not
limited to the threat of homelessness. The court stated that the threats
were “not all that Ms. Glagola has alleged to trigger the statute,” and
pointed out the landlord also “used actual and threatened force to get
[plaintiff] to perform sex.” 2023 WL 7271340, at *6.

This Court has held that where “combined with other circumstances,”
threats of the sort at issue in Glagola can be actionable under the
TVPA. U.S. v. Law, 990 F.3d 1058, 1064 (7th Cir. 2021). But those
“other circumstances” make the difference.

It is neither an abuse of law nor a threat of serious harm for The
Salvation Army to warn participants of the consequences (losing
program benefits) of not participating in the very rehabilitation
program (inclusive of work-therapy) to which they agreed as a condition
of enrollment. See Doc. 24 at 40-43 (citing cases).

                                 Respectfully submitted,


                                 /s/ Daniel W. Wolff
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